                              Case 23-15564     Doc 18     Filed 10/12/23       Page 1 of 1
Entered: October 12th, 2023
Signed: October 11th, 2023

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                                  In re:   Case No.: 23−15564 − MMH         Chapter: 13

Aleasha Lewis,
Debtor.

                     ORDER DENYING CONFIRMATION OF CHAPTER 13 PLAN
                                 WITH LEAVE TO AMEND
Having held a hearing on the Chapter 13 Plan proposed by the Debtor and having concluded that the proposed Plan
does not fulfill the requirements for confirmation set out in 11 U.S.C. § 1325, it is, by the United States Bankruptcy
Court for the District of Maryland,

ORDERED, that confirmation of the Chapter 13 Plan proposed by the Debtor is denied; and it is further

ORDERED, that the Debtor is granted leave to file an amended Plan on or before November 7, 2023; and it is further

ORDERED, that if an Amended Plan is timely filed and served on all creditors and parties in interest, the hearing on
confirmation of the Amended Plan shall take place on December 13, 2023, at 2:00 p.m., by videoconference and it
is further

ORDERED, that if an Amended Plan is timely filed, the Debtor/Counsel shall mail: (1) a copy of this Order,
and (2) the Amended Plan to all creditors and parties requesting notice, and shall file with the court a
certificate of service by the date set for filing the Amended Plan; and it is further

ORDERED, that if within the time granted for amendment the Debtor does not file an Amended Plan, or if this case
is not converted to a case under another chapter or voluntarily dismissed, then this case may be dismissed by the
Court pursuant to 11 U.S.C. § 1307(c)(5) without further notice or hearing.

cc:    Debtor
       Attorney for Debtor − Brian A. Cavanaugh
       Case Trustee − Brian A. Tucci



                                                   End of Order
08x02a (rev. 04/17/2018) − AnnaMarieKomisarek
